Case 1:10-cv-22863-PAS Document 18 Entered on FLSD Docket 03/01/2011 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                           CASE NO.1 0-22863-CIV -SEITZ/O'SULLIVAN

  MELISSA PHILIPIAN, and WHITE TIDES
  ENTERTAINMENT GROUP, INC.,

          Plaintiffs,

  v.

  DWAYNE CARTER, AlKlA LIL' WAYNE eta!.,

          Defendants.
  ------------------------------------/

                           ORDER GRANTING MOTION TO DISMISS
                        FOR LACK OF SUBJECT MATTER JURISDICTION

          THIS MAITER is before the Court on Defendant Dwayne Carter aIk/aLii' Wayne ("Carter")

  Motion to Dismiss for Lack of Subject Matter Jurisdiction [DE 16]. Plaintiffs Melissa Philipian and

  White Tides Entertainment Group, Inc. ("Plaintiffs") brought this action pro se alleging various state

  law causes of action against Carter and others, as well as seeking a declaratory judgment to void a

  settlement agreement and stipulation of dismissal. Plaintiffs invoked the Court's federal question

  jurisdiction by stating they are bring "an action for Declaratory Reliefunder 28 U.S.C. § 2201." [DE

  1]. Carter moves to dismiss the Complaint because the Declaratory Judgment Act does not confer

  federal question jurisdiction and the requirements for diversity jurisdiction are not met here. In their

  response, Plaintiffs, who now are represented by counsel, agree that dismissal oftheir claims without

  prejudice for lack of subject matter jurisdiction is the appropriate course. [DE 17]. Because the

  Court lacks subject matter jurisdiction, the Court will dismiss this case.

         It is well-established that the Declaratory Judgment Act does not confer subject matter

  jurisdiction upon federal courts in an action for which there otherwise would not be jurisdiction. See

  e.g. Weitzman v. Microcomputer Resources, Inc., 542 F.3d 859, 861-62 (lIth Cir. 2008); Federal

  Election Comm 'n v. Reform Party of United States, 479 F.3d 1302, 1307 n.5 (lIth Cir. 2007). Here,
Case 1:10-cv-22863-PAS Document 18 Entered on FLSD Docket 03/01/2011 Page 2 of 2




  Plaintiffs have not alleged any federal question as a basis for the Court's subject matter jurisdiction.

  Nor can Plaintiffs allege the existence of diversity jurisdiction because there is not complete diversity

  of citizenship because Plaintiffs are Florida residents and at least seven (7) Defendants are Florida

  citizens. Since Plaintiff has failed to allege facts sufficient to establish a basis for subject matter

  jurisdiction that is independent of the Declaratory Judgment Act, this case must be dismissed

  pursuant to Rule 12(b)( 1) of the Federal Rules of Civil Procedure. Therefore, it is

          ORDERED that

          (1) Defendant's Motion to Dismiss for Lack of Subject Matter Jurisdiction [DE 16] is

  GRANTED.

          (2) All pending motions not otherwise ruled upon are DENIED AS MOOT.

          (3) This case is CLOSED                                  ~

          DONE and ORDERED in Miami, Florida, this           c5lr   day of February, 2011.




  cc: Counsel of Record




                                                    -2-
